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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,


       v.
                                                        18-CR-120-V
 MARCUS MARTIN BOWMAN,                                  ORDER

              Defendant.



       The defendant, Marcus Martin Bowman (“Bowman”), is charged in two counts of

a superseding indictment. Docket Item 85. Count 1 charges Bowman and fifteen other

named defendants with conspiring to possess with intent to distribute and conspiring to

distribute at least 50 grams of methamphetamine, in violation of 21 U.S.C. § 846. Id.

Count 38 charges Bowman with attempting to possess at least 50 grams of

methamphetamine with intent to distribute it, in violation of 21 U.S.C. § 846. Id.

       Bowman filed an omnibus discovery motion and motions to suppress evidence

and statements. Docket Items 253 and 296. The government responded to the

omnibus discovery motion and opposed the motions to suppress. Docket Items 276

and 307. After hearing oral argument on September 16, 2019, and at Bowman’s

request, the Court held the motions in abeyance pending the outcome of plea

negotiations. See Docket Item 486. By Decision and Order filed April 9, 2020,

Magistrate Judge Michael J. Roemer addressed Bowman’s non-dispositive discovery

motions. Docket Item 440. At a May 12, 2020 status conference, the parties reported

that plea negotiations were unsuccessful and Bowman intended to proceed to trial;
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Judge Roemer requested additional information from the government and deemed

Bowman’s motions to suppress submitted for decision. See Docket Item 486.

       On May 27, 2020, Judge Roemer issued a Report & Recommendation (“R&R)

recommending the denial of Bowman’s motions to suppress evidence and statements.

Docket Item 486. With respect to Bowman’s motion to suppress evidence, Judge

Roemer found that as an overnight guest, Bowman had an expectation of privacy and

therefore standing to challenge the search warrant issued for 18 Wisteria Drive,

Fredonia, New York. Id. at 6. But Judge Roemer also found that Bowman had failed to

make a preliminary showing that the search warrant affidavit contained a false

statement, that a false statement was included recklessly or intentionally, and that any

false statement was integral to finding probable cause. Id. at 7. Judge Roemer

therefore recommended that the motion to suppress evidence be denied.

       With respect to Bowman’s motion to suppress his post-arrest statements, Judge

Roemer found that Bowman had failed to allege any facts in support of his bald claim

that his constitutional rights were violated when he was detained and questioned. Id. at

8. Specifically, Judge Roemer concluded that there was no factual dispute warranting a

hearing. Id. Accordingly, Judge Roemer recommended the denial of Bowman’s motion

to suppress his statements.

       Bowman did not object to the R&R, and the time to object now has expired. For

that reason, he has waived his right to have the R&R reviewed. See Fed. R. Crim. P.

59(b)(2) (“Failure to object in accordance with this rule waives a party’s right to

review.”); see also Docket Item 486.




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         Nevertheless, in its discretion, this Court has carefully reviewed the R&R as well

as the parties’ submissions to Judge Roemer in connection with the motions to

suppress. Based on that review and the absence of any objection, and for the reasons

stated in the R&R, this Court adopts the R&R in its entirety. Bowman’s motions to

suppress are DENIED.



         SO ORDERED.

Dated:         June 24, 2020
               Buffalo, New York



                                                s/ Lawrence J. Vilardo
                                               LAWRENCE J. VILARDO
                                               UNITED STATES DISTRICT JUDGE




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